Case 8:19-cv-01262-JAK-JPR Document 15 Filed 08/09/19 Page 1 of 15 Page ID #:124
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                                  UNITED STATES DISTRICT COURT
   8
                                 CENTRAL DISTRICT OF CALIFORNIA
   9
        CARMEN JOHN PERRI,                           Case No:
   10                                                8:19−cv−01262−JAK−JPR
                           Plaintiff(s),
   11
        vs.                                          ORDER SETTING RULE 16(b)/26(f)
   12 MENGYI JIA, et al.,                            SCHEDULING CONFERENCE

   13                      Defendant(s).             Hearing: Under Submission / No Hearing

   14                                                Joint Report Due: October 11, 2019

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   17
   18    This case has been assigned to Judge John A. Kronstadt. This Order applies to all parties

   19    in this action, whether or not they are represented by counsel. “Counsel,” as used in this

   20    Order, also refers to parties who are representing themselves. If plaintiff has not already

   21    served the complaint (or any amendment thereto) on each defendant, plaintiff shall

   22    promptly do so and file proofs of service within three (3) days thereafter. Defendant(s)

   23    also shall timely serve and file their responsive pleadings and file proofs of service within

   24    three (3) days thereafter.

   25    The Court is prepared to issue a scheduling order in this matter. If a hearing is necessary,

   26    the scheduling conference will be held on the date listed in the caption. The conference

   27    will be held pursuant to Fed. R. Civ. P. 16 and Fed. R. Civ. P. 26(a). The parties are

   28    reminded of their obligations under Fed. R. Civ. P. 26(a) to disclose information


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        (without awaiting a discovery request) and under Rule 26(f) to confer on a discovery plan
   2    not later than twenty−one (21) days prior to the scheduling conference and to file a report

   3    with the Court entitled “Joint Rule 16(b)/26(f) Report” not later than ten (10) calendar days

   4    before the date set for the scheduling conference. If a hearing is not necessary, a date

   5    for the scheduling conference will not be set. The caption of this Order will state that the

   6    hearing is taken under submission and a hearing will not be held. The date for the filing of

   7    the Joint Rule 16(b)/26(f) Report will be included. Please comply with these requirements;

   8    it will simplify the Scheduling Conference.

   9         The Court encourages counsel to begin to conduct discovery actively before the

   10   Scheduling Conference. The Court encourages prompt, early discovery because at the

   11   Scheduling Conference the Court will set firm deadlines to complete discovery. The

   12   parties shall comply fully with the letter and spirit of Fed. R. Civ. P. 26(a) and thereby

   13   obtain and produce most of what would be produced in the early stage of discovery.

   14   Discovery is not stayed prior to the Scheduling Conference or after dates have been

   15   set unless otherwise ordered by the Court.

   16   1.    Joint Rule 16(b)/26(f) Report

   17         The Joint Rule 16(b)/26(f) Report shall be drafted by plaintiff’s counsel (unless the

   18   parties agree otherwise or unless plaintiff is self-represented, in which case defendant’s

   19   counsel), but shall be submitted and signed jointly. “Jointly” contemplates a single report,

   20   regardless of how many separately-represented parties there are. The Joint Rule

   21   16(b)/26(f) Report shall report on all matters enumerated below, which include those

   22   required to be discussed by Rule 26(f) and Local Rule 26. The Joint Rule 16(b)/26(f)

   23   Report should set forth the following information under section headings corresponding to

   24   those in this Order:

   25   a.    Statement of the Case: A short synopsis (not to exceed two (2) pages) of the main

   26   claims, counterclaims, and affirmative defenses.

   27   b.    Subject Matter Jurisdiction: A statement of the specific basis of federal jurisdiction,

   28   including supplemental jurisdiction.


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         c.    Legal Issues: A brief description of the key legal issues, including any unusual
   2     substantive, procedural or evidentiary issues.

   3     d.    Parties, and Non-Party Witnesses: A list of parties and percipient witnesses on

   4     the main issues in the case. For conflict purposes, corporate parties must identify all

   5     subsidiaries, parents and affiliates.

   6     e.    Damages: The realistic range of provable damages.

   7     f.    Insurance: Whether there is insurance coverage.

   8     g.    Motions: A statement of the likelihood of motions seeking to add other parties or

   9     claims, file amended pleadings or transfer venue.

   10    h.    Manual for Complex Litigation: Whether all or part of the procedures of the Manual

   11    for Complex Litigation should be utilized.

   12    i.    Status of Discovery: A discussion of the present state of discovery, including a

   13    summary of completed discovery.

   14    j.    Discovery Plan: A detailed discovery plan, as contemplated by Rule 26(f), including

   15    the identity of all anticipated deponents and dates by which their depositions are to be

   16    completed (if possible), anticipated written discovery requests, including requests for

   17    admission, document requests, and interrogatories, and a schedule for completion of

   18    all discovery. State what, if any, changes in the disclosures under Rule 26(a) should be

   19    made, the subjects on which discovery may be needed and whether discovery should be

   20    conducted in phases or limited in some manner, whether applicable limitations should be

   21    changed or other limitations imposed, and whether the Court should enter other orders.

   22    Please note that a statement to the effect that discovery will be conducted as to all claims

   23    and defenses, will not satisfy this requirement.

   24    k.    Discovery Cut-Off: A proposed discovery cut-off date. This means the final day for

   25    completion of non-expert discovery, including resolution of all discovery motions. The last

   26    day to hear discovery motions shall be the same as the last day to hear all motions.

   27    See Exhibit C-1.

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        l.    Expert Discovery: Proposed dates for expert witness disclosures (initial and rebuttal)
   2    and expert discovery cut-off under Rule 26(a)(2).

   3    m.    Dispositive Motions: A description of the issues or claims that any party believes

   4    may be determined by motion for summary judgment or motion in limine.

   5    n.    Settlement: A statement of what settlement discussions or written communications

   6    have occurred (excluding any disclosure or discussion of the substantive matters or terms

   7    discussed) and a statement pursuant to Local Rule 16-15.4 about selecting a settlement

   8    mechanism under that Rule. In light of the Court’s participation in the ADR Program, no

   9    case will proceed to trial unless all parties with full authority to settle the case - including,

   10   as to each corporate party, an officer who has such authority - have appeared personally

   11   at a settlement conference. The Court will discuss the proposed ADR procedure with the

   12   parties at the time of the Scheduling Conference and will issue the ADR-12 order once the

   13   settlement method is selected. For information about the Court’s ADR Program, review

   14   General Order 11-10, which is located on the “ADR” page of the Court’s website.

   15   o.    Trial Estimate: A realistic estimate of the time required for trial and whether trial

   16   will be by jury or by the Court. Each side should specify (by number, not by name) how

   17   many witnesses it contemplates calling. If the time estimate for trial given in the Joint

   18   Rule 26(f) Report exceeds five (5) court days, counsel shall be prepared to discuss in

   19   detail the estimate.

   20   p.    Trial Counsel: The name(s) of the attorney(s) who will try the case, including those

   21   who will be lead trial counsel.

   22   q.    Independent Expert or Master: Whether this is a case in which the Court should

   23   consider appointing a Master pursuant to Rule 53 or an independent scientific expert.

   24   r.   Timetable: Please complete the Schedule of Pretrial and Trial Dates form attached

   25   as Schedule A to this Order (Exhibit C-1) and attach it to the Joint Rule 16(b)/26(f) Report.

   26   The entries in the “Weeks Before Trial” column reflect what the Court believes are

   27   appropriate for most cases and will allow the Court to rule on potentially dispositive

   28   motions sufficiently far in advance of the pretrial conference. The form is designed to


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        enable counsel to ask the Court to set different last dates by which the key requirements
   2    must be completed. Each side should fill in the month, day and year it requests for each

   3    event. E.g., for the expert discovery cut-off it might be “10/7/16” for plaintiff and “10/28/16”

   4    for defendant, if they cannot agree. Each entry proposing a court date shall be on a

   5    Monday, except the trial date, which will be a Tuesday. Counsel should ensure that

   6    requested dates do not fall on a court holiday. At the conference, the Court will review

   7    this form with counsel in determining the dates that will be set in the case. The cut-off

   8    date for motions is the last date on which motions may be filed. The Court is not likely

   9    to continue this date. Counsel shall refer to the Court’s “Order on Court/Jury Trial.”

   10   See Exhibit D. This Order will set forth all pre-trial obligations of counsel, and, where

   11   applicable, the deadlines for each. Upon the Court’s final ruling on all motions, counsel

   12   will be directed to submit proposed dates for the Final Pretrial Conference and trial.

   13   s.   Other Issues: A statement of any other issues affecting the status or management

   14   of the case (e.g., unusually complicated technical or technological issues, disputes over

   15   protective orders, extraordinarily voluminous document production, non-English speaking

   16   witnesses, ADA-related issues, discovery in foreign jurisdictions) and any proposals

   17   concerning severance, bifurcation or other ordering of proof.

   18   t.   Patent Cases: Propose dates and methodology for claim construction and Markman

   19   hearings. See also Exhibit B.

   20   u.    Whether the Parties Wish to Have a Magistrate Judge Preside: Under 28 U.S.C.

   21   § 636, the parties may consent to have a Magistrate Judge preside over an entire action,

   22   not just discovery. See General Order 12-01 and General Order 12-02. The parties

   23   may select a Magistrate Judge from the Voluntary Consent List and comply with the

   24   requirements outlined in General Order 12-01 and General Order 12-02 and those

   25   outlined on the Court’s website: http://www.cacd.uscourts.gov/judges-requirements/

   26   court-programs/voluntary-consent-list-civil-cases-magistrate-judges-program.

   27   2.    Scheduling Conference

   28         The Scheduling Conference will be held in Courtroom 10B of the First Street


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        Courthouse located at 350 W. First Street, Los Angeles, California. Counsel shall comply
   2    with the following with respect to the Scheduling Conference:

   3    a.   Participation: The lead trial attorney for each party shall attend the Scheduling

   4    Conference unless such counsel is engaged in trial, or has good cause following a request

   5    to the Clerk by either telephone or email in advance of the Scheduling Conference.

   6    b.   Continuance: A continuance of the Scheduling Conference will be granted only for

   7    good cause, following a written request with a proposed order to be e-filed at least one (1)

   8    week in advance of the Scheduling Conference.

   9    c.   Use of Conference Telephone: In general, the Court prefers in-person appearances.

   10   However, if one or more of the lead counsel has his or her office outside of Los Angeles

   11   County, or under other appropriate circumstances, the Court may, upon the request of

   12   one or more counsel, conduct the status conference by conference telephone call. Any

   13   request for a telephonic appearance must be made at least two (2) court days before

   14   the scheduled hearing by contacting the Courtroom Deputy Clerk for further instructions.

   15   The Court does not entertain a telephonic appearance if the Scheduling Conference is

   16   set at the same date and time as a motion unless it is an exceptional and unanticipated

   17   circumstance. Any request for a telephonic appearance at a motion hearing must be made

   18   in writing and e-filed at least seven (7) calendar days before the scheduled hearing and

   19   shall include a declaration from counsel setting forth the basis for the request with a

   20   proposed order. The Court does not use Court Call. If the request is granted, the order

   21   will include the information for the call. Please note that cell phones or the use of speaker

   22   phones are not permitted for any telephonic appearance.

   23   3.   Protective Orders

   24        If you seek a protective order, please use your best efforts to propose it to opposing

   25   counsel before the Scheduling Conference. Protective orders are considered discovery

   26   and shall be prepared and submitted to the assigned Magistrate Judge.

   27   4.   Notice to be Provided by Counsel

   28        Plaintiff’s counsel or, if plaintiff is self-represented, defendant’s counsel, shall serve


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         this Order on any parties who first appear after the date of this Order and to parties who
   2     are known to exist but have not yet entered appearances.

   3     5.    Disclosures to Clients

   4           Counsel are ordered to deliver to their respective clients a copy of this Order and

   5     of the Court’s Scheduling and Case Management Order, which will set forth the schedule

         that the Court establishes at the Scheduling Conference.
   6
   7          IT IS SO ORDERED.

   8
        Dated: August 9, 2019
   9
                                               JOHN A. KRONSTADT
   10                                          UNITED STATES DISTRICT COURT

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   1
                                         EXHIBIT C-1
   2
          SCHEDULE A TO ORDER SETTING RULE 16(b)/26(f) SCHEDULING CONFERENCE:
   3
                       SCHEDULE OF PRETRIAL AND TRIAL DATES FOR:
   4                                  1. CIVIL CASES
   5                                2. PATENT CASES

   6                                 3. ERISA CASES

                              4. TRIAL DATES FOR ALL CASES
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   1    EXHIBIT A − SCHEDULE OF PRETRIAL AND TRIAL DATES FOR CIVIL CASES
   2    Case No.:

   3    Case Name:

   4
        Deadlines:                                                     Plaintiff(s)   Defendant(s)   Court Order
   5                                                                   Request        Request

   6
        Last Date to Add Parties/Amend Pleadings
   7
   8
        Non-Expert Discovery Cut-Off
   9
   10
        Expert Disclosure (Initial)
        (2 weeks after non-expert discovery cut-off)
   11
   12   Expert Disclosure (Rebuttal)
        (4 weeks after non-expert discovery cut-off)
   13
   14   Expert Discovery Cut-Off
        (6 weeks after non-expert discovery cut-off)

   15
        Last Date to File All Motions (incl. discovery motions)
   16   (6 weeks after non-expert discovery cut-off)

   17
        Settlement Procedure Selection:                                Plaintiff(s)   Defendant(s)   Court Order
        (ADR-12 Form will be completed by Court after                  Request        Request
   18   scheduling conference)

   19
        1. Magistrate Judge
        2. Attorney Settlement Officer Panel
   20   3. Outside ADR/Non-Judicial (Private)

   21
        Last day to conduct settlement conference or
        mediation
   22
   23   Notice of Settlement / Joint Report re Settlement
        (First Friday following last day to conduct settlement
        conference or mediation)
   24
   25   Post Mediation Status Conference
        (10 days after due date to file notice of settlement / joint
        report re settlement: Mondays at 1:30 pm)
   26
   27   Note: If necessary, counsel will be invited to submit proposed dates with respect to
        the final pretrial conference and trial date upon the Court’s final ruling on all
        motions. The trial estimate will be set at the final pretrial conference.
   28

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    1    EXHIBIT A − SCHEDULE OF PRETRIAL AND TRIAL DATES FOR PATENT CASES
    2    Case No.:

    3    Case Name:

    4
         Deadlines:                     Weeks After Listed         Plaintiff(s)   Defendant(s)   Court Order
    5                                   Event                      Request        Request

    6
         Infringement Contentions       2 (After Order Setting
    7    (S.P.R. 2.1, 2.2)              Scheduling Conference)

    8
         Early Meeting of the           4 (After Order Setting
    9    Parties, Initial Disclosures   Scheduling Conference)
         (S.P.R. 2.3)

    10
         Joint Rule 26(f) Report        10 days (Before
         (S.P.R. 2.3)                   Scheduling Conference
    11                                  Date)

    12
         Scheduling Conference          [set by Court]
    13   (S.P.R. 2.4)


    14
         Last Date to Add
    15   Parties/Amend Pleadings


    16
         Invalidity Contentions         2 (After Scheduling
         (S.P.R. 2.5, 2.6)              Conference)
    17
    18
         Exchange of Claim Terms        4 (After Scheduling
         (S.P.R. 3.1)                   Conference)
    19
    20
         Exchange Proposed          6 (After Scheduling
         Constructions and Evidence Conference)
    21   (S.P.R. 3.2)

    22   Complete Claim                 10 (After Scheduling
         Construction Discovery         Conference)
    23   (S.P.R. 3.3)

    24   Joint Markman Prehearing       11 (After Scheduling
         Statement                      Conference)
    25   (S.P.R. 3.4)

    26   Simultaneous Opening           12 (After Scheduling
         Markman Briefs                 Conference)
    27   (S.P.R. 3.5)


    28

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    1
         Simultaneously           14 (After Scheduling
         Responding Markman       Conference)
    2    Briefs, Tutorials, and
         Presentation Materials
    3    (S.P.R. 3.5)

    4
         Markman Hearing          17 (After Scheduling
    5    (S.P.R. 3.6)             Conference)

    6
         Markman Decision         [set by Court]
    7
         Patentee Files           4 (After Markman
    8    Final Infringement       Decision)
         Contentions, Expert
    9    Reports on issues
         Where Patentee has
    10   Burden of Proof, All
         Parties File Advice of
         Counsel Disclosures
    11   (S.P.R. 4.1, 4.4)

    12   Accused Infringer        8 (After Markman
         Files Final Invalidity   Decision)
    13   Contentions, Rebuttal
         Expert Reports, and
         Opening Expert
    14   Reports Where
         Accused Infringer has
    15   Burden of Proof
         (S.P.R. 4.2)
    16
         Patentee’s Rebuttal     12 (After Markman
         Expert Reports on       Decision)
    17   Issues Where Accused
         Infringer has Burden of
    18    Proof
         (S.P.R. 4.3)
    19
    20   Discovery Cut-Off        16 (After Markman
         (S.P.R. 4.3)             Decision)
    21
         Last Date to File All
    22                            20 (After Markman
         Motions                  Decision)
         (S.P.R. 4.5)
    23
         Note: If necessary, counsel will be invited to submit proposed dates with respect to
    24   the final pretrial conference and trial date upon the Court’s final ruling on all motions.
         The trial estimate will be set at the final pretrial conference.
    25
                      **CONTINUE TO NEXT PAGE FOR SETTLEMENT DATES**
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   1
         Settlement Procedure Selection:               Plaintiff(s)   Defendant(s) Court Order
   2     (ADR-12 Form will be completed by Court after Request        Request
          scheduling conference)
   3
         1. Magistrate Judge
   4     2. Attorney Settlement Officer Panel
         3. Outside ADR/Non-Judicial (Private)
   5
         Last day to conduct settlement conference
   6     or mediation
   7
         Notice of Settlement / Joint Report re
         Settlement
   8     (First Friday following last day to conduct
         settlement conference or mediation)
   9     Post Mediation Status Conference
         (10 days after due date to file notice of
   10    settlement / joint report re settlement:
         Mondays at 1:30 pm)
   11
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    1    EXHIBIT A − SCHEDULE OF PRETRIAL AND TRIAL DATES FOR ERISA CASES
    2    Case No.:

    3    Case Name:

    4
         Hearings:                                                      Plaintiff(s)   Defendant(s)   Court Order
    5                                                                   Request        Request

    6
    7    Last Date to Add Parties/Amend Pleadings:


    8
         Simultaneous Opening Briefs:
    9
    10
         Simultaneous Responsive Briefs:
    11
    12   Court Trial/Hearing on Administrative Record:
         (Tuesday at 9:00 a.m.)

    13
         Duration Estimate: ____ Days / ____ Weeks

    14
         Settlement Procedure Selection:                                Plaintiff(s)   Defendant(s)   Court Order
         (ADR−12 Form will be completed by Court after                  Request        Request
    15   scheduling conference)

    16
         1. Magistrate Judge
         2. Attorney Settlement Officer Panel
    17   3. Outside ADR/Non-Judicial (Private)

    18
         Last day to conduct settlement conference or
         mediation
    19
    20
         Notice of Settlement / Joint Report re Settlement
         (First Friday following last day to conduct settlement
    21   conference or mediation)

    22   Post Mediation Status Conference
         (10 days after due date to file notice of settlement / joint
    23   report re settlement: Mondays at 1:30 pm)


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    1    EXHIBIT A − SCHEDULE OF DATES FOR CIVIL JURY TRIALS (After Court has ruled
         on all motions)
    2
         Case No.:
    3
         Case Name:
    4
    5
         Settlement Procedure Selection:                               Plaintiff(s)   Defendant(s)   Court Order
                                                                       Request        Request
    6
    7    1. Magistrate Judge
         2. Attorney Settlement Officer Panel
         3. Outside ADR/Non-Judicial (Private)
    8
    9    Last day to conduct settlement conference or
         mediation
         (within 30 days of the Court’s final ruling on all motions)
    10
    11   Notice of Settlement / Joint Report re Settlement
         (1 week after last day to complete settlement)
    12
    13   Pretrial and Jury Trial Dates:                                Plaintiff(s)   Defendant(s)   Court Order
                                                                       Request        Request
    14
    15   Last day to file all pretrial documents and motions
         in limine
         (2 weeks after last day to complete settlement)
    16
    17   Last day to file response to motions in limine
         (3 weeks after last day to complete settlement)
    18
         Final Pretrial Conference, Status Conference re
         Disputed Exhibits, and Hearing on Motions in
    19   Limine
         (4 weeks after last day to complete settlement: Monday
    20   at 1:30 pm)

         Jury Trial
    21   (6 weeks after last day to complete settlement: Tuesday
         at 9:00 a.m.)
    22   Duration Estimate: ____ Days / ____ Weeks

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    1    EXHIBIT A − SCHEDULE OF DATES FOR CIVIL COURT TRIALS (After Court has
         ruled on all motions)
    2
         Case No.:
    3
         Case Name:
    4
    5    Settlement Procedure Selection:                               Plaintiff(s)   Defendant(s)   Court Order
                                                                       Request        Request
    6
         1. Magistrate Judge
    7    2. Attorney Settlement Officer Panel
         3. Outside ADR/Non-Judicial (Private)
    8
         Last day to conduct settlement conference or
    9    mediation
         (within 30 days of the Court’s final ruling on all motions)

    10
         Notice of Settlement / Joint Report re Settlement
    11   (1 week after last day to complete settlement)


    12   Pretrial and Jury Trial Dates:                                Plaintiff(s)   Defendant(s)   Court Order
                                                                       Request        Request
    13
    14   Last day to file all pretrial documents and direct
         testimony declarations
         (2 weeks after last day to complete settlement)
    15
         Last day to file objections to direct testimony
    16   declarations
         (3 weeks after last day to complete settlement)
    17
         Anticipated ruling on direct testimony declarations
    18   (4 weeks after last day to complete settlement)

    19   Final Pretrial Conference and Status Conference re
         Disputed Exhibits
         (4 weeks after last day to complete settlement: Monday
    20   at 1:30 pm)

         Court Trial
    21   (6 weeks after last day to complete settlement: Tuesday
         at 9:00 a.m.)
    22   Duration Estimate: ____ Days / ____ Weeks

    23
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    25
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